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EXHIBIT D
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MURRAY-NOLAN BERUTTI LLC

Attorneys at Law
Partners Associate
Gwyneth K. Murray-Nolan (NJ, NY, DC) Rebecca Petersen (NJ)
gwyneth@murray-nolanberutti.com rebecca@murray-nolanberutti.com
Ronald A. Berutti (NJ, NY, KY) Of Counsel
ron@murray-nolanberutti.com Stephanie Jablonsky (NJ)

stephanie@murray-nolanberutti.com

HIGHLY CONFIDENTIAL

December 8, 2023

Via Email

Stacey Cherry, Esq.

Fogerty & Hara, Esqs.

21-00 Route 208 South

Fair Lawn, New Jersey 07410

fe Delaware Valley High School Board of Ed. et als.
Our File No. 01195
Dear Ms. Cherry,

As you are aware, this firm represents Que regarding issues concerning his

parental rights with respect to his daughter, EP. Please accept this letter as a
follow up to our meeting of this morning regarding our meeting at the Delaware Valley High

School, at which you represented the Delaware Valley Regional High School District (“District”).
The following individuals were present at the meeting: Michael Kays, Principal; Kristina Sterbenc,
Supervisor of Counselling; and Ashley Miranda, School Counselor. This letter will memorialize
the following:

a District employee Ashley Miranda (“Ms. Miranda”) advised that she
facilitated @3§§m@ name and pronoun change upon Airaryes request;

8 Ms. Miranda declines to share any information gleaned during what she
called a “confidential counseling session” with gmiaiie

136 Central Avenue, 2nd Floor, Clark, New Jersey 07066 (908) 588-2111

30 Wall Street, 8" Floor, New York, New York 10005 (Please reply to NJ office)
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e Ms. Miranda stated that she was not aware that «ilililhas been diagnosed

with ASD and ADHD, or that she experienced severe childhood trauma with the death of
her mother when she was four years old;

e Ms. Miranda stated that she did not explore any of these issues with Sqm
prior to implementingeig§iiiiwrsocial transition;

e Ms. Miranda was also unaware that gigs under the care of a therapist;

° The District notified all staff to utilize §gag"® chosen male name and
pronouns;

® You advised that District staff was not permitted to refer to djiiiby her
given name;

8 You likewise confirmed that (gMili&s was not informed by the District of
QD social transition or in-school name change;

° You advised that the District will continue to socially transition Airy
going forward against the express wishes of Gams:

e You further threatened that if Ris did not return 4 to school, that
the District would “take further action.”

This will also confirm that at the meeting’s conclusion, I handed you a Cease and Desist
letter directed to Superintendent McKinney, dated December 8, 2023. Please note that our client’s
legal positions within the Cease and Desist letter remain unchanged, including, without limitation,
that the District is vichtin constitutional rights. Thus, we look forward to receiving
the District’s response on Monday.

Thank you.

Very truly yours,

MURRAY-NOLAN BERUTTI LLC

Rebecca Peltonen
By:

Rebecca Petersen

RP/rab
